
726 S.E.2d 845 (2012)
STATE of North Carolina
v.
James Curtis TOWNSEND.
No. 165P12.
Supreme Court of North Carolina.
June 13, 2012.
Sherri Horner, Assistant Attorney General, for State of North Carolina.
James Curtis Townsend, Lumberton, for Townsend, James Curtis.
L. Johnson Britt, III, District Attorney, for State of North Carolina.

ORDER
Upon consideration of the petition filed by Defendant on the 16th of April 2012 in this matter for a writ of certiorari to review the order of the North Carolina Court of Appeals, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Dismissed by order of the Court in conference, this the 13th of June 2012."
